59 F.3d 167NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Russell Keith PELLER, Petitioner-Appellant,v.Ronald ANGELONE, Director, Respondent-Appellee.
    No. 95-6402.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 18, 1995.Decided June 27, 1995.
    
      Russell Keith Peller, Appellant Pro Se.  Linwood Theodore Wells, Jr., Assistant Attorney General, Richmond, VA, for Appellee.
      Before NIEMEYER and WILLIAMS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief without prejudice on his 28 U.S.C. Sec. 2254 (1988) petition.  We have reviewed the record and the district court's opinion, and find no reversible error.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Peller v. Angelone, No. CA-94-1378 (E.D. Va.  Feb. 2, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    